                     Case 1:10-cr-00210-AWI Document 96 Filed 03/03/15 Page 1 of 1
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

        UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                   v.                                                     (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
      BALTAZAR BENJAMIN VERDUZCO
                      (Defendant’s Name)                                  Criminal Number: 1:10CR00210-004


                                                                          John Frederick Garland
                                                                          Defendant’s Attorney

THE DEFENDANT: admitted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on
12/16/2014 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:
Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             Unlawful Use of a Controlled Substance                  on or about 12/23/2013, 6/25/2014,
                                                                                             8/12/2014, 8/21/2014, 7/24/2014, and
                                                                                             10/28/2014
Charge 2                             Excessive Use of Alcohol                                    weekend of 10/26/2014



The court continues under same conditions of supervision heretofore ordered on 10/17/2011, with all previously ordered conditions in
effect and with the addition of the 2 following conditions:

7. The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief item of
sale.

8. The defendant shall reside and participate in an inpatient correctional treatment program to obtain assistance for drug and/or alcohol
abuse, for a period of up to 180 days, and up to 10 additional days for substance abuse detoxification services if deemed necessary.

       The defendant is sentenced as provided on this page of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                              3/2/2015
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ ANTHONY W. ISHII
                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W. ISHII, United States District Judge
                                                                                Name & Title of Judicial Officer


                                                                                                   3/3/2015
                                                                                                     Date
